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IN THE UNITED STATES DISTRICT CO
NORTHERN DISTRICT OF TEXAS |

 

DALLAS DIVISION ee
KELVION WALKER, § RPUTY sua Ye ~
Plaintiff,
Vv. Civil Action No. 3:13-CV-4896-K
AMY WILBURN,
Defendant.

COURT’S CHARGE TO THE JURY

MEMBERS OF THE JURY:

Please continue your deliberations in an effort to reach a verdict. This is an
important case. The trial has been expensive in terms of time, effort, money and
emotional strain to all parties involved. If you should fail to agree on a verdict, the
case may have to be tried again. There is no reason to believe that the case can be
retried, by either side, better or more exhaustively than it has been tried before you.

Any future jury would be selected in the same manner and from the same
source as you were chosen. There is no reason to believe that those jurors would be
more conscientious, more impartial or more competent to decide the case than you
are.

It is your duty to consult with one another and to deliberate with a view to
reaching a verdict if you can do so, consistent with your individual judgments. You

must not surrender your honest convictions as to the weight or effect of the evidence

 
 

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solely because of the opinions of the other jurors or just to reach a verdict. Each of
you must decide the case for yourself, but you should do so only after consideration
of the evidence with your fellow jurors.

In the course of your deliberations, you should not hesitate to reexamine your
own views, and to change your opinion if you are convinced that it is wrong. To
reach a unanimous verdict, you must examine the questions submitted to you openly
and frankly, with proper regard for the opinions of others and with a willingness to
reexamine your own views. If a substantial majority of you are for a verdict for one
party, each of you who holds a different position ought to consider whether your
position is reasonable.

I suggest that you now carefully reexamine and consider all the evidence in the
case in light of my instructions on the law. In your deliberations you are to consider
all of the instructions I have given to you as a whole. You should not single out any
part of any instruction including this one.

You may now continue yo iperations.

DATED: September , 2019.

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UNITED STATES DISTRICT JUDGE
